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 1   PICCARRETA DAVIS KEENAN FIDEL PC
     2 East Congress Street, Suite 1000
 2
     Tucson, AZ 85701
 3   (520) 622-6900
     Michael L. Piccarreta
4    State Bar No. 003962
5    Email: mlp@pd-law.com
     Attorney for Defendant Andrew Padilla
6
                          IN THE UNITED STATES DISTRICT COURT
7
8                                FOR THE DISTRICT OF ARIZONA
9    United States of America,                     NO. CR-18-00422-06-PHX-SPL (BSB)
10
                          Plaintiff,               DEFENDANT PADILLA’S
11   vs.                                           OPPOSITION TO GOVERNMENT’S
                                                   MOTION TO DISQUALIFY
12
     6. Andrew Padilla,                            COUNSEL (Doc. 118)
13      (Counts 1-51)
                                                   (Oral Argument Requested)
14                    Defendants.
15
16          Defendant Andrew Padilla, by and through his undersigned attorney, hereby
17
     responds in opposition to the government’s motion to disqualify counsel. (Doc. 118).
18
                                        BACKGROUND
19
20          Defendant Andrew Padilla worked at the website Backpage.com (“Backpage”)

21   until the government shut it down. One of Mr. Padilla’s primary responsibilities was
22
     ensuring that third-party ads posted on Backpage conformed to the website’s terms of use.
23
     Mr. Padilla is aware that Backpage, its owner Carl Ferrer, its prior owners Michael Lacey
24
25   and Jim Larkin, and, in some cases, other employees of Backpage, have been involved in

26   litigation across the country concerning Backpage. Mr. Padilla is also aware that Backpage
27   and some of these individuals have been represented by the law firm Davis Wright
28
     Tremaine LLP (“DWT”). Specifically, DWT attorneys James C. Grant and Robert Corn-
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 1   Revere have been very successful in litigating issues related to the First Amendment, Title
 2
     47 U.S.C. § 230 (the Communications Decency Act), and other relevant and related legal
 3
     and constitutional issues as they relate to challenges by government authorities and others
4
5    concerning Backpage.1

6             Mr. Padilla retained undersigned counsel in 2017 in connection with a federal grand
7
     jury investigation of Backpage in the District of Arizona. At that time, Mr. Padilla entered
8
     into a joint defense agreement with Mr. Ferrer, Mr. Lacey, Mr. Larkin, and others
9
10   employed by or associated with Backpage.2 While the contents of that agreement are and

11   remain confidential (and without waiving any claims of confidentiality or privilege), it was
12
     the intent of the agreement that Mr. Padilla, and other signatories to the agreement, would
13
     continue to receive the benefit of the excellent representation DWT’s lawyers had been
14
15   providing in all of these matters.3 Quite simply, DWT is Mr. Padilla’s counsel of choice for

16   these issues. As a signatory to the agreement (and under the Fifth and Sixth Amendments
17
     1
18      Robert Corn-Revere has extensive experience in First Amendment law and
     communications, media, and information technology law. He formerly served as Chief
19   Counsel to the Chairman of the Federal Communications Commission and is a past
20   national chairman of the First Amendment Lawyers Association. His numerous honors
     include being selected by Best Lawyers in America as Washington D.C.’s “Lawyer of the
21   Year” in both First Amendment litigation and First Amendment law for 2017. He has long
     been recognized as one of the leading attorneys in the country on First Amendment issues.
22
     James C. Grant has over 30 years of experience and his practice focuses on internet
23   businesses and websites in cases across the country, including numerous high-profile
     actions concerning free speech, state regulatory efforts, privacy, and consumer, marketing,
24   and business practices. He was formerly vice president and chief litigation counsel for
25   AT&T Wireless. He has also been recognized by Best Lawyers in America and is
     considered a preeminent attorney in 47 U.S.C. § 230 litigation.
26   2
       Mr. Padilla has joined in Mr. Lacey and Mr. Larkin’s opposition to the government’s
     motion to disqualify counsel.
27   3
       The joint defense agreement will be provided to the Court for In Camera review.
28

                                                   2
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 1   to the United States Constitution), Mr. Padilla has the right to the continued service of the
 2
     DWT lawyers.
 3
            It must be noted that Mr. Grant and Mr. Corn-Revere do not devote their practices
4
5    to defending the criminally accused. Mr. Ferrer, Mr. Lacey, Mr. Larkin, Mr. Padilla, and

6    the others listed in the indictment, have all retained separate experienced criminal defense
7
     counsel to represent them individually in these criminal proceedings. It is the intent of the
8
     joint defense agreement that the DWT lawyers would continue their role in addressing
9
10   issues concerning the First Amendment, internet free speech and privacy, and other related

11   and relevant legal and constitutional issues for all signatories to the agreement. These
12
     issues apply equally to all defendants in the case and it was the purpose of the agreement
13
     that the DWT lawyers would continue to address these issues for all defendants (even if
14
15   members of the joint defense agreement withdrew and cooperated), including filing legal

16   motions to dismiss, other motions, and related appeals.
17
            The government is well aware of the successful results the DWT lawyers have
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 1   obtained in proceedings involving Backpage across the country.4 These cases include
 2
     attempts to hold Backpage, and others associated with the website, vicariously liable for the
 3
     acts of third persons predicated on the same underlying theories of criminal liability that are
4
5    at issue in the present case. The DWT lawyers were successful in obtaining dismissal of

6    criminal charges in California premised on the theory that Backpage was criminally liable
7
     for receiving payments for ads posted on the website and that doing so allegedly
8
     constituted pimping or promotion of prostitution.5 More recently, the DWT lawyers filed a
9
10   motion in the California case to dismiss the remaining charges or suppress evidence for

11   prosecutorial misconduct and violations of constitutional rights and statutory protection
12
     proscribing government access to electronic communications, proceedings which very well
13
     may affect these current proceedings.6 In short, the DWT lawyers have been very effective
14
15   in combatting efforts such as the present criminal prosecution in which the First

16
     4
       A partial list includes successfully enjoining state criminal laws directed at Backpage’s
17
     operations on the grounds that these activities are protected by the First Amendment. See
18   Backpage.com LLC v. Cooper, 939 F.Supp.2d 805 (M. D. Tenn. 2013); Backpage.com
     LLC v. Hoffman, 2013 WL 4502097 (D. N. J. 2013); Backpage.com LLC v. McKenna, 881
19   F.Supp.2d 1262 (W. D. Wash. 2012). Other successes include Jane Doe No. 1 v.
20   Backpage.com LLC, 817 F.3d 12, 21 (1st Cir. 2016) (“Features such as [Backpage’s
     decisions about how to treat postings], which reflect choices about what content can appear
21   on the website and in what form, are editorial choices that fall within the purview of
     traditional publisher functions”); and Backpage.com LLC v. Dart, 807 F.3d 229 (7th Cir.
22
     2015) (recognizing First Amendment protections for Backpage’s activities and finding that
23   county sheriff’s demand that credit card companies prohibit use of their cards to purchase
     any ads on Backpage violated the First Amendment).
24   5
        People v. Ferrer, No. 16FE019224 (Cal. Super. Ct. Dec. 16, 2016, *10) and No.
25   16FE024013 (Cal. Super. Ct. Aug. 23, 2017, p. 13).
     6
       See Notice of Motion and Motion to Dismiss for Government Misconduct and to Void
26   Warrants and Subpoenas and Suppress Evidence for Violations of the California Electronic
     Communications Privacy Act and the U.S. and California Constitutions, People v. Ferrer,
27
     No. 16FE024013 (Cal. Super. Ct. March 5, 2018), attached hereto as Exhibit A.
28

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 1   Amendment rights of websites that publish ads are the core protection against the
 2
     government’s novel attempt to vicariously impose criminal liability on the publishers for
 3
     the acts of others. Although the government professes concern for the integrity of the trial
4
5    process, the stark reality is that the government will gain huge tactical advantages if DWT

6    is removed from their role in these matters, whereas the defendants will be tactically
7
     disadvantaged in ways that simply cannot be remedied.
8
            The basis for the government’s motion to disqualify counsel is the government’s
9
10   erroneous claim that the fact that Mr. Ferrer is now a cooperating witness for the

11   government creates a conflict with DWT continuing their representation of the seven non-
12
     cooperating defendants listed in the indictment. The purported basis for the conflict is the
13
     claim that the DWT attorneys will not be able to effectively cross-examine Mr. Ferrer
14
15   while also respecting their duty to Mr. Ferrer as a former client to preserve confidential and

16   privileged information that may provide fodder for effective cross-examination. These
17
     purported concerns are baseless.
18
            First, as part and parcel of his agreement to cooperate with the government, Mr.
19
20   Ferrer waived, in writing, any claims of attorney-client privilege, whether in his personal or

21   official capacity, as to communications with any attorney or law firm that represented
22   Backpage, or any related entities, except as to his current criminal defense counsel Nanci
23
     Clarence and Jonathan Baum. (Correspondence from AUSA Kevin Rapp to Mike
24
25   Piccarreta, May 14, 2018, attached hereto as Exhibit B). Second, it is Mr. Padilla’s

26   understanding that Mr. Ferrer, Mr. Lacey, and Mr. Larkin entered into agreements for
27   DWT’s joint representation in which Mr. Ferrer also agreed to share confidential
28

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 1   information and waive potential conflicts of interest as to any pending or potential civil or
 2
     criminal proceedings and these agreements specifically anticipated that the parties’ interests
 3
     could diverge in the future, and therefore allowed that a party could withdraw from the
4
5    joint representation arrangement but could not move to disqualify counsel from continuing

6    to represent the remaining parties. Third, Mr. Ferrer and his criminal counsel, Nanci
7
     Clarence, as signatories to the joint defense agreement, specifically waived any claims of
8
     conflict, specifically agreed that any confidential information acquired by any of the other
9
10   signatories or their attorneys could be used in cross-examination of Mr. Ferrer if he became

11   a cooperating government witness, and further specifically agreed not to assert any future
12
     claim that any attorneys would be disqualified from continued representation due to the
13
     receipt of any such information.
14
15          Mr. Padilla now objects to the government’s improper attempt to deprive him of his

16   Fifth and Sixth Amendment rights to counsel of choice on these matters.
17
                                            ARGUMENT
18
            The Sixth Amendment guarantees the right of non-indigent defendants to choose
19
20   who will represent them. Erroneous denial of the right to counsel of choice is structural

21   error and requires automatic reversal even in the absence of any showing of prejudice. The
22   “Sixth Amendment right to counsel of choice…commands, not that a trial be fair, but that a
23
     particular guarantee of fairness be provided -- to wit, that the accused be defended by the
24
25   counsel he believes to be best.” United States v. Gonzalez-Lopez, 548 U.S. 140, 146

26   (2006). “The right to select counsel of one’s choice…has been regarded as the root
27   meaning of the constitutional guarantee.” Id. at 147-48. “Where the right to be assisted by
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 1   counsel of one’s choice is wrongly denied, therefore, it is unnecessary to conduct an
 2
     ineffectiveness or prejudice inquiry to establish a Sixth Amendment violation.” Id. at 148.
 3
     “Deprivation of the right is ‘complete’ when the defendant is erroneously prevented from
4
5    being represented by the lawyer he wants, regardless of the quality of the representation he

6    received.” Id.7
7
              Because erroneous denial of the right to counsel of choice requires automatic
8
     reversal courts have repeatedly “warned that disqualification of defense counsel should be
9
10   a measure of last resort.” United States v. Diozzi, 807 F.2d 10, 12 (1st Cir. 1986). “In

11   moving to disqualify appellants’ chosen counsel, the government bears a heavy burden of
12
     establishing that disqualification is justified. United States v. Washington, 797 F.2d 1461,
13
     1465 (9th Cir. 1986).” Id.
14
15            Moreover, because of the clear potential for abuse when the government attempts to

16   separate a defendant from his counsel of choice:
17
              the court should be extremely careful not to let the government’s attempted
18            disqualification of defense counsel “transform the sixth amendment right to
              conflict-free counsel into a two-edge sword with which the government
19            would be able to sever defendants from those most able to protect their
20            legitimate legal interests.” In re Paradyne Corp., 803 F.2d 604, 611 (11th
              Cir. 1986). In an extremely complicated case it may cause a fundamental
21            injustice to remove the one attorney whose intimate knowledge of the
              defense and whose close relationship with the defendants make him
22            practically the only available attorney capable of presenting effective
23
24   7
       The Supreme Court recently reaffirmed the “nature and importance of the constitutional
25   right” to counsel of choice under the Sixth Amendment. Luis v. United States, 578 U.S. __,
     __, 136 S.Ct. 1083, 1088 (2016). It has also long been settled that, under the Fifth
26   Amendment’s guarantee of due process of law, “a defendant should be afforded a fair
     opportunity to secure counsel of his own choice.” Powell v. Alabama, 287 U.S. 45, 53
27
     (1932).
28

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 1            assistance of counsel.
 2
     United States v. Renda, 669 F.Supp. 1544, 1549 (D. Kan. 1987) (emphasis in original).
 3
              The Arizona Supreme Court “also view[s] with suspicion motions by opposing
4
5    counsel to disqualify a party’s attorney based upon conflict of interest” and places

6    particular emphasis on the “public suspicion regarding an attempt by the state to disqualify
7
     a defendant’s attorney.” Gomez v. Superior Court, 149 Ariz. 223, 226 (1986).8 In addition,
8
     the Arizona Supreme Court has made it clear that the prosecution “has no standing to
9
10   object as to who will or will not represent the defendant or be associated as counsel.”

11   Knapp v. Hardy, 111 Ariz. 107, 112 (1974). “Not only does this strike at the very heart of
12
     the adversary system, but as we have previously stated:…‘for the prosecution to participate
13
     in the selection or rejection of its opposing counsel is unseemly if for no other reason than
14
15   the distasteful impression which could be conveyed.’ State v. Madrid, 105 Ariz. 534, 535 []

16   (1970).” Id. See also Rodriguez v. State, 129 Ariz. 67, 70 (1981) (prosecution lacked
17
     standing to seek to disqualify defense counsel).
18
              Having brought the matter to this Court’s attention, the government should not be
19
20   permitted to participate any further in any proceedings relating to the disqualification issue,

21   especially because the government has indicated that Mr. Ferrer does not wish to be a party
22   to the government’s motion. (Ex. B, p. 4). As noted above, resolution of these matters will
23
     require the In Camera submission of privileged and confidential materials that opposing
24
25
26   8
       “Because we apply state law in determining matters of disqualification, we must follow
     the reasoned view of the state supreme court when it has spoken on the issue.” In re County
27
     of Los Angeles, 223 F.3d 990, 995 (9th Cir. 2000).
28

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 1   counsel has no right to see.
 2
              The Arizona Supreme Court has also emphasized that “[o]nly in extreme
 3
     circumstances should a party to a lawsuit be allowed to interfere with the attorney-client
4
5    relationship of his opponent.” Alexander v. Superior Court, 141 Ariz. 157, 161 (1984)

6    (citations omitted).9 “The burden should be upon the moving party to show sufficient
7
     reason why an attorney should be disqualified from representing his client. Whenever
8
     possible the courts should endeavor to reach a solution that is least burdensome upon the
9
10   client or clients.” Id.

11            In the present case, this Court must consider the burdens placed upon the seven
12
     non-cooperating signatories to the joint defense agreement who are entitled to the
13
     continued representation of DWT on these vital First Amendment, internet, and privacy
14
15   issues. As signatories to the joint defense agreement, Mr. Padilla and the remaining non-

16   cooperating defendants have standing to oppose the government’s motion to disqualify
17
     counsel. See United States v. Jones, 44 F.3d 860, 873 (10th Cir. 1995) (“Mr. Scott also
18
     contends that his personal Sixth Amendment rights were implicated because the
19
20   disqualification denied him the ability to plan and pursue a joint defense….Mr. Scott has

21   standing to bring this claim….”) (emphasis in original).
22
23
             If a co-defendant’s attorney is threatened with disqualification or is actually
24           disqualified -- whether on the government’s motion or on the court’s own
25           initiative -- then a defendant may have standing to complain of the

26
     9
       Alexander is discussed in the Arizona State Bar Ethics Opinion (91-05) the government
27
     cited to this Court. (Doc. 118, pp. 9-10).
28

                                                   9
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 1          disqualification if he planned to pursue a joint defense. In this situation, the
            defendant’s personal Sixth Amendment rights are implicated, and he has
 2
            standing to join the dispute as a result.
 3
     D. Richmond, The Rude Question of Standing in Attorney Disqualification Disputes, 25
4
5    Am. J. Trial Advoc. 17, 65 (Summer 2001) (citing Jones).

6           Under the law governing joint defense agreements, one signatory cannot blow up
7
     the entire agreement for the rest of the signatories through his unilateral decision to
8
     cooperate with the government, and thereby deprive all the remaining signatories of their
9
10   constitutional right to counsel of choice and the continued benefits of representation under

11   the agreement. It is highly foreseeable that a defendant may choose to cooperate with the
12
     government and the joint defense agreement specifically provides for this contingency. As
13
     signatories to the agreement, Mr. Ferrer and his criminal counsel, Ms. Clarence,
14
15   specifically waived any claims of conflict, specifically agreed that confidential information

16   acquired by any of the other signatories or their attorneys could be used in cross-
17
     examination of Mr. Ferrer if he became a cooperating government witness, and further
18
     specifically agreed not to assert any future claim that any attorneys would be disqualified
19
20   from continued representation due to the receipt of any such representation.10

21          The case law governing joint defense agreements also makes it clear that a
22   defendant’s decision to cooperate with the government does not create any conflict of
23
24   10
        Such conflict waivers in joint defense agreements are valid and enforceable. In fact, the
25   American Law Institute and American Bar Association jointly drafted a form waiver in
     their model joint defense agreement. Joint Defense Agreement, Am. Law Institute - Am.
26   Bar Ass’n, Trial Evidence in the Federal Courts, Problems and Solutions, at 35 (1999); see
     also 5B West’s Federal Forms, District Courts -- Criminal § 94.42, Joint Defense
27
     Agreement, sec. VIII, Conflict of Interest and Disqualification (5th ed. June 2017 Update).
28

                                                  10
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 1   interest requiring disqualification of remaining counsel. In United States v. Almeida, 341
 2
     F.3d 1318 (11th Cir. 2003), the court held “that [cooperating defendant] waived his
 3
     attorney-client privilege when he turned state’s evidence, thereby entirely removing the
4
5    possibility of a conflict of interest from the case.” Id. at 1324.

6           We hold that when each party to a joint defense agreement is represented by
            his own attorney, and when communications by one co-defendant are made
7
            to the attorneys of other co-defendants, such communications do not get the
8           benefit of the attorney-client privilege in the event that the co-defendant
            decides to testify on behalf of the government in exchange for a reduced
9           sentence.
10
     Id. at 1326.11 In the present case, Mr. Ferrer, Mr. Lacey, Mr. Larkin, Mr. Padilla, and all of
11
     the other signatories to the joint defense agreement were separately represented by their
12
13   own criminal counsel. Mr. Ferrer is therefore barred from claiming that his decision to
14   cooperate with the government now creates a conflict of interest requiring disqualification.
15
            This is especially true in light of the fact that, in his cooperation agreement with the
16
     government, Mr. Ferrer and his criminal counsel, Ms. Clarence, also waived, in writing,
17
18   any claims of attorney-client privilege, whether in his personal or official capacity, as to

19   communications with any attorney or law firm that represented Backpage, or any related
20
     entities, except as to his current criminal defense counsel. (Exhibit B hereto). Accordingly,
21
     there is no legally cognizable prejudice to either Mr. Ferrer or the government if the
22
23   government’s motion to disqualify is denied.

24          Even if there were some technical violation of some ethical rule, which there is not,
25
26
     11
        This passage was cited with approval by the Ninth Circuit Court of Appeals in Murdoch
27
     v. Castro, 365 F.3d 699, 703 n. 2 (9th Cir. 2004).
28

                                                    11
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 1   “the rules of professional responsibility are for ethical enforcement and are not designed to
 2
     be used as a means to disqualify counsel.” Amparano v. ASARCO, Inc., 208 Ariz. 370, 376
 3
     ¶ 22 (App. 2004). Again, this Court is required to consider the personal Sixth Amendment
4
5    right to counsel of choice of Mr. Padilla and the other six non-cooperating signatories to the

6    joint defense agreement. See Alexander, 141 Ariz. at 161 (“[w]henever possible the court
7
     should endeavor to reach a solution that is least burdensome upon the client or clients”).
8
            In light of the significance and magnitude of the Sixth Amendment right to counsel
9
10   of choice, the balance is heavily weighted against depriving Mr. Padilla and the remaining

11   non-cooperating defendants of their counsel of choice on these issues and requiring them to
12
     find and fund new counsel to be brought up to speed. The government clearly has not met
13
     its “heavy burden” of showing the “extreme circumstances” justifying the “measure of last
14
15   resort” that would permit the government “to sever defendants from those most able to

16   protect their legitimate legal interests.” Washington, 797 F.2d at 1465; Alexander, 141
17
     Ariz. at 161; Diozzi, 807 F.2d at 12; In re Paradyne Corp., 803 F.2d at 611. While there is
18
     no damage to Mr. Ferrer or the government if the government’s motion to disqualify is not
19
20   granted, the damage to Mr. Padilla and the other defendants if the motion is granted is

21   immeasurable.
22          While the government professes concern for the integrity of the trial process, the
23
     inescapable reality is that the government’s motion to disqualify gains them huge tactical
24
25   advantages in many ways. First, the government will be removing the most knowledgeable

26   and experienced attorneys in the country on these First Amendment, internet, and privacy
27   issues. Second, the government will be removing attorneys with over six years of
28

                                                  12
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 1   institutional knowledge about the issues surrounding Backpage that are involved in the
 2
     present litigation. Third, the government will be removing the very lawyers that, after
 3
     exhaustive research and analysis, uncovered misconduct in gathering evidence by the
4
5    California Attorney General’s Office that may significantly impact the present proceedings.

6    In contrast, the defendants will be irreparably disadvantaged because no amount of time
7
     and effort on the part of new counsel (even if defendants can find and fund them) could
8
     come anywhere near to replicating DWT’s efforts thus far.
9
10          Specifically, the DWT lawyers are absolutely critical to Mr. Padilla’s defense. The

11   First Amendment and § 230 issues are pivotal to his role at Backpage in ensuring the ads
12
     posted by third parties conformed with Backpage’s terms of use. As courts have
13
     consistently found, in cases litigated by DWT and others, Mr. Padilla’s acts, and those of
14
15   others at Backpage, are prototypical editorial functions that are clearly protected by the

16   First Amendment.12 Moreover, the government is sadly mistaken that § 230 provides only
17
     “state law defenses not applicable in this case.” (Doc. 118, p. 3). The Travel Act (18 U.S.C.
18
     § 1952) counts in the indictment allege facilitation of prostitution offenses in violation of
19
20   state law.13 However, if the State of Arizona attempted to prosecute state law offenses

21   relating to prosecution based on the government’s theory of third-party liability for the
22
     12
23      See, e.g., Jane Doe, 817 F.3d at 21 (“Features such as [Backpage’s decisions about how
     to treat postings], which reflect choices about what content can appear on the website and
24   in what form, are editorial choices that fall within the purview of traditional publisher
25   functions”).
     13
         It should be noted that facilitation of prostitution under Arizona law is a class 3
26   misdemeanor, the lowest level of criminal offense, with a maximum penalty of 30 days in
     jail and a $500 fine. Arizona Revised Statutes § 13-3214; § 13-1004(C); § 13-707(A)(3); §
27
     13-802(C).
28

                                                  13
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 1   conduct of others, § 230 would provide a complete defense.14 The government cannot
 2
     premise a Travel Act prosecution on violations of state laws that the states, themselves,
 3
     cannot prosecute. Moreover, § 230, and the cases interpreting it including those
4
5    successfully litigated by DWT, shows that Mr. Padilla and the other defendants lack the

6    specific intent required to commit the offenses in the indictment. The point is: the First
7
     Amendment and § 230 issues are critical to Mr. Padilla’s defense and he cannot be
8
     deprived of the assistance of the most able attorneys to represent him. In addition, there are
9
10   other relevant legal and constitutional matters that will need to be litigated with the

11   assistance and institutional knowledge of DWT.
12
            Finally, the government’s motion to disqualify counsel must not be viewed in a
13
     vacuum and must be considered in light of the government’s simultaneous efforts in this
14
15   matter to seize legitimate assets necessary to retain counsel of choice.15 In the present case,

16   the government’s improper attempt to gain a tactical advantage by seeking to disqualify
17
     learned, highly qualified, and highly knowledgeable counsel who have had six years’
18
     experience dealing with the legal issues in the case, is coupled with an improper attempt at
19
20   “drying up” funds needed to pay those attorneys or the even greater sums needed to retain

21
22
23
24   14
        See, e.g., Gourlay v. Barrett, 2017 WL 1329434, *4 (E. D. Mich. 2017) (“Congress
25   intended that no liability may be imposed under a state criminal law that is inconsistent
     with § 230”).
26   15
        See Luis, 578 U.S. at __, 136 S.Ct. at 1089 (“the Government would undermine the
     value of that right by taking from Luis the ability to use the funds she needs to pay for her
27
     chosen attorney”).
28

                                                   14
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 1   and bring new attorneys up to speed. Alexander, 141 Ariz. at 165.16 Courts have dismissed
 2
     indictments outright for such government interference into defendants’ Sixth Amendment
 3
     rights to counsel of choice.
4
5           For example, in United States v. Stein, 541 F.3d 130 (2d Cir. 2008), the Second

6    Circuit Court of Appeals upheld the district court’s dismissal of the indictment due to the
7
     government’s interference with corporate employees’ right to counsel of choice. The
8
     government influenced the corporation to adopt a policy under which it conditioned,
9
10   capped, and ultimately ceased advancing legal fees to defendant employees. Id. at 135. The

11   court recognized the Sixth Amendment right to counsel of choice for “an employee who
12
     reasonably expects to receive attorneys’ fees as a benefit or perquisite of employment,
13
     whether or not the expectation arises from a legal entitlement.” Id. at 155. “In a nutshell,
14
15   the Sixth Amendment protects against unjustified governmental interference with the right

16   to defend oneself using whatever assets one has or might reasonably and lawfully obtain.”
17
     Id. at 156. Accordingly, the court accepted the defendants’ claim “that the government
18
     unjustifiably interfered with their relationship with counsel and their ability to mount the
19
20   best defense they could muster.” Id. at 155.

21          Indeed, the court found that the defendant employees “easily demonstrate[d]
22   interference in their relationships with counsel and impairment of their ability to mount a
23
24
     16
25      Whether this is a pattern of government overreaching to deny these defendants their
     Sixth Amendment right to counsel and Fifth Amendment right to due process of law, or
26   simply random isolated occurrences may have to be decided by this Court at a later date.
     See, e.g., United States v. Stein, 435 F.Supp.2d 330 (S.D.N.Y. 2006), aff’d 541 F.3d 130
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     (2d Cir. 2008).
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 1   defense” based on factors that are very similar to the circumstances of the present case:
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     “Defendants were indicted based on a fairly novel theory of criminal liability; they face
 3
     substantial penalties; [and] the relevant facts are scattered throughout over [several] million
4
5    documents.” Id. at 157. Under these circumstances, dismissal of the indictment was the

6    only remedy for the Sixth Amendment violation. Id.; see also United States v. Leung, 351
7
     F.Supp.2d 992 (C. D. Cal. 2005) (dismissing indictment due to government’s interference
8
     with defendant’s Sixth Amendment rights).
9
10          The government’s similar efforts to deny Mr. Padilla and the other defendants their

11   right to counsel of choice cannot be condoned.
12
                                           CONCLUSION
13
            Because the highly valued right to counsel of one’s choosing is regarded as the root
14
15   meaning of the Sixth Amendment’s guarantee of assistance of counsel and the Fifth

16   Amendment right to due process of law, the erroneous denial of counsel of choice
17
     constitutes fundamental structural error and mandates reversal. “Where the right to be
18
     assisted by counsel of one’s choice is wrongly denied, therefore, it is unnecessary to
19
20   conduct an ineffectiveness or prejudice inquiry to establish a Sixth Amendment violation.”

21   Gonzalez-Lopez, 548 U.S. at 148. The government has not shouldered its heavy burden of
22   showing that this drastic measure of last resort is necessary or justified. This Court should
23
     not deny these defendants their Sixth Amendment right to counsel of choice with the
24
25   attendant risk that any error cannot be deemed harmless. Id. The government’s motion to

26   disqualify counsel must be denied.
27
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 1          RESPECTFULLY SUBMITTED this 6th day of June, 2018.
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                                   PICCARRETA DAVIS KEENAN FIDEL PC
 3
                                   By:     /s/   Michael L. Piccarreta
4                                                Michael L. Piccarreta
5                                                Attorney for Andrew Padilla

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